Case 2:13-cv-02578-STA-cgc Document 138-6 Filed 01/08/16 Page 1of3 PagelD 1356

EXHIBIT

Declaration of Peter Belski
Case 2:13-cv-02578-STA-cgc Document 138-6 Filed 01/08/16 Page 2of3 PagelD 1357

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

MARY PHILLIPA SLEDGE, MARY JANE

PIDGEON SLEDGE TRUST, and PIDGEON SLEDGE FAMILY
LIMITED PARTNERSHIP

Plaintiffs,
Vv.
Civ. 2:13-cv-2578

INDICO SYSTEM RESOURCES, INC. and
CLEAL WATTS, III

Defendants.

 

DECLARATION OF PETER F. BELSKY

 

I, Peter F. Belsky, pursuant to the provisions of 28 U.S.C. §1746, do hereby declare:

l. I am an adult resident of Collin County, Texas and have personal, firsthand
knowledge of the facts described herein.

2. In 2006, my friend William Hamilton introduced me to Defendant Cleal Watts Ill
(“Watts”).

3. Mr. Watts appeared to me to be well-educated and trustworthy. He came from a
well-known family in Texas.

4, Mr. Watts asked me to invest $30,000.00 in raw diamonds that he promised he
could import from West Africa. He promised me that once he brought the diamonds to Texas, I
would enjoy a significant return on my investment.

5. He told me he had experience doing this.
Case 2:13-cv-02578-STA-cgc Document 138-6 Filed 01/08/16 Page 3of3 PagelD 1358

6. In reliance on Mr. Watts’ statements to me, I invested $30,000.00 of my family’s
moey and gave it to Mr. Watts.

7. For two years, I waited for Mr. Watts to produce diamonds or to provide me a

returm on my investment.

8. For this entire time, he continued to tell me stories about why he could not bring
the diamonds in to the country.

9. He never produced the diamonds or any retum on my investment.

10. Moreover, he never refunded my money.

11. At some point, I became depressed and gave up hope that it would ever arrive.

12. While I believed in Mr. Watts at the time, I now believe it is more likely than not

that this investment opportunity was some form of scam.

I certify under penalty of perjury that the foregoing is true and correct. Executed on this

20th day of November, 2015. P B bib

PETER F. BELSKY

 
